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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Overwell Harvest, Limited
                                     Plaintiff,
v.                                                       Case No.: 1:17−cv−06086
                                                         Honorable Sara L. Ellis
David Widerhorn, et al.
                                     Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 11, 2018:


       MINUTE entry before the Honorable Sara L. Ellis: Unopposed motion for leave to
appear as counsel of record for Defendant Paul Giedraitis [45] is granted. Mailed notice(rj,
)




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